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                     IN THE UNITED STATES DISTRICT COURT u.s EHSTf~'~i ,\{', I ~:'I.H\J
                        FOR THE DISTRICT OF MARYLAND    \)l$I1<lcT1' I ,\  ,-




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QUINDELL FORD,                            *                                                  .. nCr\,,[
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                                                                                  i 1"\3,\l.\   i1',J,',~
       Petitioner,                        *             Civil No, RDB-12-2848                            .._,,,  v
                                                                                                           c",__\ .,

                                                                           B'.{ .~.-.
       v,
                                          *             Criminal No. RDB-09-0219

UNITED STATES OF AMERICA,                 *
       Respondent.                        *
*      *       *     *      *      *      *      *      *      *       *            *             *

                                MEMORANDUM OPINION

       On June 19,2013, this Court entered its Memorandum Opinion (ECF No. 197) and

Order (ECF No, 198) denying the pro se Petitioner Quindell Ford's ("Petitioner") Motion to

Vacate, Set Aside, or Correct Sentence pursuant to 28 U.S.c. ~ 2255 (ECF No, 182),

Petitioner subsequently filed the presently pending Motion to Alter or Amend Judgment

Pursuant to Rule 59(e) of the Federal Rules of Civil Procedure (ECF No, 203) on August 23,

2013. For the reasons stated below, Petitioner's Motion to Alter or Amend Judgment is

DENIED,


                                       BACKGROUND
       The background facts of this action have been fully set forth in this Court's

Memorandum Opinion of June 19, 2013 (ECF No. 197); therefore, only a summary is

included herein, On February 19, 2010, Petitioner pled guilty to Counts Six and Seven of the

Second Superseding Criminal Indictment (ECF No. 28) charging him with Interference with

Interstate Commerce by Robbery under 18 U.S.c. ~ 1951, and Brandishing a Firearm During
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and in Relation to a Crime of Violence under 18 U.S.c. ~ 924 (c). Soon thereafter, Petitioner

filed a Motion to Withdraw Plea of Guilty (ECF No. 87), which was denied by this Court

after a hearing. ECF Nos. 113, 115. Petitioner was subsequently sentenced by this Court to

a period of 366 months incarceration       with five (5) years of supervised      release (ECF No.

147).

        Petitioner sought appeal of his sentence, and on September 9, 2011, the United States

Court of Appeals for the Fourth Circuit issued a Judgment           (ECF No. 180) affIrming this

Court's decision. Soon thereafter, Petitioner filed his Motion to Vacate, Set Aside, or Correct

Sentence (ECF No. 182) pursuant to 28 U.S.c. ~ 2255, alleging (1) that this Court lacked

jurisdiction   to convict and sentence him and (2) ineffective assistance of counsel. On June

19,2013, this Court denied Petitioner's Motion to Vacate. ECF Nos. 197, 198.

        Following this Court's entry of its Memorandum       Opinion and Order, Petitioner filed

the presently pending Motion      for Reconsideration    pursuant   to Rule 59(e) of the Federal

Rules of Civil Procedure.

                                      STANDARD        OF REVIEW

        The Federal     Rules of Civil Procedure     do not expressly       recognize   motions   for

"reconsideration."    Instead, Rule 59(e) authorizes a district court to alter, amend, or vacate a

prior judgment, and Rule 60 provides for relief from judgment.           As explained by this Court

in CroJJ 1)•. I-<,eelReserve Ass'n Pension Plan, Civ. No. WDQ-05-0001,     2010 \XIL 3609530, at *2

(D. Md. Sept. 14,2010):

        A party may move to alter or amend a judgment under Rule 59(e), or for relief
        from a judgment under Rule 60(b). See Fed. R. Civ. P. 59(e) & 60(b). A
        motion to alter or amend filed within 28 days of the judgment is analyzed
        under Rule 59(e); if the motion is filed later, Rule 60(b) controls. See Fed. R.

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       Civ. P. 59(e); MLC Auto., LLC v. Town of S. Pines, 532 F.3d 269, 280 (4th Cir.
       2008); In re Burnley, 988 F.2d 1, 2-3 (4th Cir. 1992).

(footnote omitted). Here, Petitioner has expressly filed his Motion pursuant to Rule 59(e).

Although Petitioner's Motion was filed more than twenty-eight (28) days after the entry of

judgment and is therefore untimely under Rule 59(e), this Court will nonetheless consider

Petitioner's arguments under both Rules 59(e) and 60(b).

A.     Rule 59(e)

       The United States Court of Appeals for the Fourth Circuit has repeatedly recognized

that a judgment may be amended under Rule 59(e) in only three circumstances:                 (1) to

accommodate an intervening change in controlling law; (2) to account for new evidence not

available at trial; or (3) to correct a clear error of law or prevent manifest injustice. See, e.g.,

Gagliano v. Reliance Standard Lift Ins. Co., 547 F.3d 230, 241 n.8 (4th Cir. 2008). Such motions

do not authorize a "game of hopscotch," in which parties switch from one legal theory to

another "like a bee in search of honey." Cochran v. Quest Software, Inc., 328 F.3d 1, 11 (1st Cir.

2003). In other words, a Rule 59(e) motion "may not be used to relitigate old matters, or to

raise arguments or present evidence that could have been raised prior to entry of judgment."

Pac Ins. Co. v. Am. Nat'l Fire Ins. Co., 148F.3d 396, 403 (4th Cir. 1998) (quoting 11 Wright, et

ai, Federal Pra(/ice and PrrJ<~dure~ 2810.1, at 127-28 (2d ed. 1995). Where a party presents

newly discovered evidence in support of its Rule 59(e) motion, it "must produce a legitimate

justification for not presenting the evidence during the earlier proceeding."         Id. (internal

citations and quotation marks omitted). "In general, reconsideration of a judgment after its

entry is an extraordinary remedy which should be used sparingly." Id. (internal citations and

quotation marks omitted).

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B.     Rule 60(b)

       To support a motion under Rule 60(b), the moving party must show "timeliness, a

meritorious   defense,    a lack of unfair prejudice      to the opposing       party, and exceptional

circumstances."     Hale v. Belton AssOt:, Inc., 305 Fed. Appx. 987, 988 (4th Cir. 2009) (quoting

Dowell v. State rarm Fire & Cas. Auto. Ins. Co., 993 F.2d 46, 48 (4th Cir. 1993)). If these

threshold requirements     are met, the moving party must then shQw: (1) mistake, inadvertence,

surprise, or excusable neglect; (2) newly discovered evidence which by due diligence could

not have been discovered        in time to move for a new trial under Rule 59(b); (3) fraud,

misrepresentation    or other misconduct     of an adverse party; (4) the judgment is void; (5) the

judgment has been satisfied, released, or discharged; or (6) any other reason justifying relief

from the operation       of the judgment.    See Fed. R. Civ. P. 60(b). The moving party "must

clearly establish the grounds therefore       to the satisfaction   of the district court," and those

grounds "must be clearly substantiated        by adequate proof." In re Burnley, 988 F.2d 1, 3 (4th

Cir. 1992) (citations omitted).     "Rule 60(b) provides extraordinary          relief and may only be

invoked under 'exceptional      circumstances.'''   Mines v. United States, No. WMN-10-520,           2010

WL 1741375, at *2 (D. Md. April 28, 2010) (Nickerson,                    J.) (quoting    Compton v. Alton

Steamship Co., Inc., 608 F.2d 96, 102 (4th Cir. 1982)).

                                              ANALYSIS

       Petitioner    once again attempts to challenge his guilty plea and sentence by asserting

that his Section 924(c) charge is invalid. Specifically, Petitioner         argues that, in light of the

Supreme Court's decision in Alleyne v. United Statu, _         U.S. _,      133 S. Ct. 2151 (2013), this




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r
    Court erred in not presenting Petitioner's 924(c) charge to a jury because of the effect the

    924(c) charge had on his sentence. Pet'r's Mot. to Alter or Amend at 2-3, ECF No. 203.

            Simply put, Petitioner has not met the high bar he faces to succeed on his Motion to

    Alter or Amend. Despite his reliance on Allome, as explained below, Petitioner has not

    identified   an intervening    change in controlling      law since the entry of this Court's

    Memorandum       Opinion      and Order.   No   new evidence, previously        unavailable   to the

    Petitioner, has been brought to light. Furthermore,       there is no indication whatsoever that

    there has been a clear error of law or manifest injustice committed. To the extent that

    Petitioner makes new arguments in his Motion for Reconsideration, they are arguments that

    were available and should have been raised previously. Further, the Petitioner presents no

    viable reason why these new arguments were not made prior to this Court's entry of its

    Order. In sum, Petitioner has failed to even meet the threshold conditions of Rules 59(e) and

    60(b). Moreover,    even if this Court were to ignore the threshold             defects apparent in

    Petitioner's Motion, his argument is without merit.

            The gravamen of Petitioner's claims is that, under Alleyne, "the 924(c) charge and his

    prior convictions ...   should have been presented to a jury and proven beyond a reasonable

    doubt because they 0 served to increase his statutory minimum sentence." !d. In Alleyne, the

    Supreme Court held that, in a criminal trial, "facts that increase mandatory              minimum

    sentences must be submitted to the jury." _          U.S. _,     133 S. Ct. 2151, 2163 (2013). The

    petitioner in Allryne was convicted, after a jury trial, of violating Section 924(c); however, the

    jury failed to indicate whether the firearm used in the incident giving rise to this charge was

    "brandished."   Id. at 2155-56. At issue was the district court's imposition of a mandatory


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minimum sentence based upon its own finding that petitioner's Section 924(c) charge did, in

fact, include brandishing. Id. In this case Petitioner Quindell Ford equates his situation to

that in Alleyne and argues that because his Section 924(c) charge was not decided by a jury,

his plea-and    therefore sentence-are    invalid.

       Petitioner has ignored several key differences between Alleyne and the instant case.

Unlike Alleyne, the Petitioner entered into a plea agreement in which he pled guilty to his

Section 924(c) .charge, as opposed to being convicted after a jury trial. More importantly,

however, Petitioner expressly pled guilty to "Brandishing a Firearm During and in Relation

to a Crime of Violence" under 18 U.S.c. ~. 924(c). Plea Agreement at 1, ECF No. 68.

Petitioner appears to equate his plea, which this Court has already held was understood by

Petitioner, to a sua sponte finding that Petitioner brandished the firearm during a criminal act.

See Mem. Op. at 8, ECF No. 197) ("Petitioner signed not only the entire plea agreement, but

also each change made to the document. Additionally, Petitioner signed the plea agreement

directly below the paragraph representing        his confirmation   that" he had reviewed the

agreement in its entirety with his attorney.). Or put differently, Alleyne has not altered any

controlling    law in this case precisely because Alleyne       is wholly distinguishable    and

inapplicable under the circumstances of the facts.

       Moreover, Petitioner erroneously relies on Alleyne in an effort to relitigate matters

already considered by this Court. Indeed, this represents the second time Petitioner has

challenged his plea as to the Section 924(c) charge. Compare Pdr's    Mot. to Vacate at 9, ECl"

No. 182 ("There was absolutely no factual basis for the Court to accept the 924(c) count in

[petitioner's] plea agreement."); with Pet'r's Mot. to Alter or Amend at 2-3, ECF No. 203


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 ("Petitioner states that because of the misinformation concerning the 924(c) charge ...      and

 the prospect that he is actual innocent, that a hearing is warranted.").        In other words,

 Petitioner's Motion raises issues that were previously rejected by this Court, and as such, fails

. to present the sort of extraordinary reasons needed for this Court to alter its decision.

 Moreover, this Court has recently rejected a similar argument. See Jones v. United States, WDQ-

 12-2631,2013 WL 6073514 (D. Md. Nov. 14,2013) (rejecting Petitioner's argument that, in

 light of Alleyne, the Court erred in accepting a guilty plea without submitting a charge-

 which carried a mandatory minimum sentence-to        the jury).

        In sum, even under the most liberal reading of the pro se Petitioner's       Motion, no

 grounds exists to warrant reconsideration of this Court's June 19, 2013 Order under Rules

 59(e) or 60(b) of the Federal Rules of Civil Procedure.

                                          CONCLUSION


        For the reasons stated above, Petitioner's Motion to Alter or Amend (ECF No. 203)

 is DENIED.

        A separate Order follows.


 Dated: April 1, 2014                          /24J2$J;
                                                 Richard D. Bennett
                                                 United States DistrictJudge




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